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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK 3 2

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Write the first ahd last name of each defendant or
respondent.

DECLARATION

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Briefly explain above the purpose of the declaration, for example, “in Opposition to Defendant's
Motion for Summary Judgment,” or “in Response to Order to Show Cause.”

i, 3) |yane Christman

following facts are true and correct:

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, declare under penalty of perjury that the

In the space below, describe any facts that are relevant to the motion or that respond to a court
order. You may also refer to and attach any relevant documents.

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